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       d/b/a Unilever
 15
 16                        UNITED STATES DISTRICT COURT
 17                      CENTRAL DISTRICT OF CALIFORNIA
 18
 19    CRAIG HAIN, on behalf of            Case No. 2:17-cv-03656 SJO-JEM
 20    himself and all others similarly
       situated,
 21                                        Judge: Hon. S. James Otero
                              Plaintiff,
 22
       v.
 23
 24    CONOPCO, INC., d/b/a
       UNILEVER,
 25
                          Defendant.
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 27
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Case 2:17-cv-03656-SJO-JEM Document 35 Filed 01/04/18 Page 2 of 3 Page ID #:298



   1                 STIPULATION OF VOLUNTARY DISMISSAL
   2         PLEASE TAKE NOTICE that Plaintiff Craig Hain and Defendant Conopco,
   3   Inc., d/b/a Unilever, through their undersigned counsel, stipulate to a voluntary
   4   dismissal with prejudice of Plaintiff’s claims. Plaintiff hereby voluntarily dismisses
   5   with prejudice all claims by Plaintiff against Defendant in this matter, pursuant to
   6   Federal Rule Civil Procedure 41(a)(1)(A)(ii), with each side to bear its own costs and
   7   fees, except as otherwise agreed.
   8
   9   /s/ Yeremey O. Krivoshey                   /s/ Tammy A. Tsoumas
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       Attorneys for Plaintiff                    Attorneys for Defendant Conopco, Inc.,
 23                                               d/b/a Unilever
 24
 25    DATED: January 4, 2018                    DATED: January 4, 2018
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   1
   2   Filer’s Attestation: Pursuant to Local Rule 5-4.3.4(a)(2)(i), I attest that Yeremey
   3   Krivoshey concurs in the contents of this stipulation and has authorized its filing.
   4
                                                                    /s/ Tammy A. Tsoumas
   5                                                                     Tammy A. Tsoumas
   6                                                  Attorneys for Defendant Conopco, Inc.
                                                                             d/b/a Unilever
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